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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                         Chapter 11

 PURDUE PHARMA L.P., et al.,                                    Case No. 19-23649 (RDD)

                  Debtors.1                                     (Jointly Administered)


    SECOND SUPPLEMENTAL ORDER AUTHORIZING AND DIRECTING PAYMENT
             OF FIRST INTERIM FEE PERIOD HOLDBACK AMOUNTS

          This Court having entered an Order, dated May 12, 2020 [ECF No. 1159] (the “First

Interim Fee Order”) granting the application (the “Application”) filed by the professional

identified on Schedule A hereto (the “Applicant”), among others, pursuant to sections 327, 328

and 331 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2016 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking allowance of interim

compensation for professional services rendered and reimbursement of actual and necessary

expenses incurred from September 15, 2019 (or the effective date of retention) through and

including January 31, 2020 (the “Fee Period”); and the First Interim Fee Order having provided

that any fees paid by the Debtors pursuant thereto shall be subject to a 20% holdback (the

“Holdback”); and an independent fee examiner (the “Fee Examiner”) having been appointed in



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  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF L.P. (0495), SVC Pharma L.P. (5717) and SVC
Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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these cases in accordance with the Order Authorizing Appointment of Independent Fee Examiner

Pursuant to 11 U.S.C. § 105(a) and Modifying Interim Compensation Procedures for Certain

Professionals Employed Pursuant to 11 U.S.C. § 327 [ECF No. 1023] (the “Fee Examiner

Order”); and, at the hearing on the Application, the Court having directed that the Holdback

remain in place in order to provide the Fee Examiner the opportunity to review the Application,

which was otherwise unopposed; and the Fee Examiner having reviewed the Application in

accordance with the Fee Examiner Order; and the Fee Examiner and the Applicant having agreed

to the recommended fee and expense reductions as set forth on Schedule A hereto; and the Fee

Examiner having no objection to payment of the Applicant’s Holdback in the amount set forth on

Schedule A hereto under the column heading “Released Holdback”; and the Court having

retained jurisdiction to hear and determine all matters arising from or related to the First Interim

Fee Order; and due and proper notice having been provided pursuant to Bankruptcy Rules

2002(a)(6) and (c)(2) and the Order Authorizing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals [ECF No. 529], and it appearing that no

other or further notice need be provided; and the Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference

M-431, dated January 31, 2012 (Preska, C.J.); and this matter being a core proceeding under 28

U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and

1409; and upon the record of all of the proceedings had before the Court; and good and sufficient

cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Applicant is awarded, on an interim basis, and the Debtors are authorized and



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directed to pay the Applicant promptly, the amount set forth on Schedule A hereto under the

column heading “Released Holdback”, to the extent such amount has not previously been paid.

        2.      This Order is without prejudice to the right of any professional whose application

was approved pursuant to the First Interim Fee Order but who is not included on Schedule A

hereto to seek payment of the balance of the Holdback at a later time.

        3.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to this Order.



Dated: July 10, 2020
       White Plains, New York


                                                      /s/Robert D. Drain
                                                      HONORABLE ROBERT D. DRAIN
                                                      UNITED STATES BANKRUPTCY JUDGE




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                                                             Schedule A

                                                     Interim Fee Applications
                                             October 4, 2019 through January 31, 2020

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Case Name: In re Purdue Pharma L.P., et al.

                                                  Fees Allowed under
                                                                                                Recommended
                       Date and Docket Number the First Interim Fee      Fees Subject to
      Applicant                                                                             Reduction of Fees and   Released Holdback
                            of Application         Order (Including        Holdback
                                                                                                  Expenses
                                                      Holdback)
                                        Official Committee of Unsecured Creditors’ Professionals
                            March 16, 2020
     Jefferies LLC                                       $900,000.00           $180,000.00             $1,198.33            $178,801.67
                             ECF No. 940




Date Order Signed: 7/10/2020                                                      Initials: RDD USBJ
